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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION


 LONE STAR TECHNOLOGICAL
 INNOVATIONS, LLC,                          Civil Action No. 6:19-CV-00059-RWS

            Plaintiff,                           JURY TRIAL DEMANDED

      v.

 ASUSTEK COMPUTER INC.,

            Defendant.

  DEFENDANT ASUSTEK COMPUTER INC.’S THIRD AMENDED TRIAL EXHIBIT
                             LIST
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  Defendant ASUSTeK Computer Inc., pursuant to Section M, paragraph 5 of the Parties’ Joint

  Pretrial Order (Dkt. 186), hereby submits its Third Amended Exhibit List. Defendant reserves

  the right to rely on any exhibits identified by Plaintiff.

   Judge Robert W. Schroeder III                      PLAINTIFF’S ATTORNEY                     DEFENDANT’S ATTORNEY
                                                                                               Vinay V. Joshi/Andrew T. Oliver
   TRIAL DATE (S)                                     COURT REPORTER                           COURTROOM DEPUTY

   PL / Def.        DATE
                                   ADMITTED                         DESCRIPTION OF EXHIBITS*
   No.             OFFERED
  DX-1                                        U.S. Patent No. 6,724,435
  DX-2                                        Prosecution History File for U.S. Patent No. 6,724,435
  DX-3                                        U.S. Patent No. 6,122,012
  DX-4                                        Prosecution History File for U.S. Patent No. 6,122,012
  DX-5                                        U.S. Patent No. 7,714,938
  DX-6                                        Curriculum Vitae of Dr. Robert Louis Stevenson
  DX-7                                        List of Prior Engagements Dr. Robert Louis Stevenson
  DX-8                                        U.S. Patent No. 5,452,018
  DX-9                                        U.S. Patent No. 5,850,471
  DX-10                                       U.S. Patent No. 5,930,009
  DX-11                                       U.S. Patent No. 6,476,793
  DX-12                                       U.S. Patent No. 6,535,301
  DX-13                                       U.S. Patent No. 6,259,428
  DX-14                                       U.S. Patent No. 5,995,164
  DX-15                                       U.S. Patent No. 5,051,928
  DX-16                                       U.S. Patent No. 5,905,094
  DX-17                                       Studio Display User’s Manual; Apple Computer, Inc. 1998
  DX-18                                       Polaroid Polaview 330 LCD Projector, 1998
  DX-19                                       July 31, 2020 Claim Construction Order, ECF No. 105
  DX-20                                       Lone Star’s Opening Claim Construction Brief, Case No. 6:15-cv-00973,
                                              ECF No. 50, with attachments (ECF Nos. 50-1 through 50-8)
  DX-21                                       Lone Star Infringement Chart ’435 Patent vs. Barco MDSC-2232
  DX-22                                       Lone Star Infringement Chart ’012 Patent vs. Barco MDSC-2232


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  DX-23                   Curriculum Vitae of Brett L. Reed
  DX-24                   ASUS Sales Data (ASUSL00412)
  DX-25                   ASUS/Magnacross LLC Settlement and Non-Exclusive Patent License
                          Agreement (ASUSLS00413-426)

  DX-26                   ASUS/Iris Connec LLC Non-Exclusive Patent License and Settlement
                          Agreement (ASUSLS00427-447)
  DX-27                   ASUS/Wireless Concinnitas Technologies LLC License Agreement
                          (ASUSLS00448-457)
  DX-28                   ASUS Unopposed Motion for Entry of Judgment as to Corydoras
                          Technologies, LLC (ASUSLS00458-467)
  DX-29                   Judgment Corydoras Technologies, LLC v. ASUSTeK Computer Inc.
                          (ASUSLS00468-470)

  DX-30                   Lone Star/Acer America Corporation Patent License and Settlement
                          Agreement (LSTI00201-211)

  DX-31                   Lone Star/Sharp Electronics Corporation and Sharp Corporation Patent
                          License and Settlement Agreement (LSTI00212-222)
  DX-32                   Lone Star/NEC Corporation and NEC Display Solutions Patent License
                          and Settlement Agreement (LSTI00223-234)
  DX-33                   “An Economic Perspective on Patent Licensing Structure and
                          Provisions,”, Thomas R. Varner, Business
                          Economics, Vol. 46, No. 4 (2011), pp. 229–238.
  DX-34                   Intellectual Property: Valuation Exploitation and Infringement Damages,
                          Gordon V. Smith, and Russell L.
                          Parr, pp. 649-650.
  DX-35                   LES High Tech Sector Royalty Rates & Deal Terms Survey Report 2017

  DX-36                   https://www.ip.philips.com/licensing/program/117/tv-set-top-boxes

  DX-37                   Royalty Rate Structure for HEVC Advance Licensees Effective July 1,
                          2020

  DX-38                   https://rrf.ktmine.com/AgreementPopup.aspx?aid=111352

  DX-39                   https://rrf.ktmine.com/AgreementPopup.aspx?aid=105025

  DX-40                   https://rrf.ktmine.com/AgreementPopup.aspx?aid=96694
  DX-41                   https://rrf.ktmine.com/AgreementPopup.aspx?aid=67989

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  DX-42                   https://rrf.ktmine.com/AgreementPopup.aspx?aid=9772


  DX-43                   https://rrf.ktmine.com/AgreementPopup.aspx?aid=9670

  DX-44                   https://rrf.ktmine.com/AgreementPopup.aspx?aid=25745
  DX-45                   https://rrf.ktmine.com/AgreementPopup.aspx?aid=74891

  DX-46                   https://rrf.ktmine.com/AgreementPopup.aspx?aid=81349

  DX-47                   https://rrf.ktmine.com/AgreementPopup.aspx?aid=101887

  DX-48                   https://rrf.ktmine.com/AgreementPopup.aspx?aid=11007
  DX-49                   https://rrf.ktmine.com/AgreementPopup.aspx?aid=56404

  DX-50                   https://rrf.ktmine.com/AgreementPopup.aspx?aid=105919

  DX-51                   https://scholar.google.com/scholar_case?case=2570397237511139499&
                          q=chimei+&hl=en&as_ sdt=6,43
  DX-52                   Universal Display Corp. 10-K for Period Ending 12/31/2012

  DX-53                   License Agreement between Motorola, Inc. and Universal Display Corp.,
                          9/27/2000
  DX-54                   Acer Annual Report 2015

  DX-55                   Acer Annual Report 2016

  DX-56                   Acer Annual Report 2017

  DX-57                   Acer Annual Report 2018

  DX-58                   Acer Annual Report 2019

  DX-59                   ASUS Annual Report 2017

  DX-60                   ASUS Annual Report 2018

  DX-61                   ASUS Annual Report 2019

  DX-62                   Acer Quarterly Report Q2 2020

  DX-63                   https://www.acer.com/ac/en/MY/press/2015/153926


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  DX-64                   https://www.acer.com/ac/en/MY/press/2015/157378

  DX-65                   https://www.displayninja.com/acer-xg270hu-review/


  DX-66                   https://www.displayninja.com/best-gaming-monitor/

  DX-67                   https://www.ip.philips.com/data/downloadables/2/0/2/0/tv_stb-patent-
                          list.pdf
  DX-68                   https://www.amazon.com/Acer-Curved-34-inch-UltraWide-
                          Display/dp/B0111MRT90
  DX-69                   https://www.bestbuy.com/site/acer-xg270hu-27-led-qhd-freesync-g-
                          sync-monitor-blackorange/
                          4434101.p?skuId=4434101
  DX-70                   https://www.newegg.com/black-metallic-gray-acer-xr341ck-bmijpphz-
                          34/p/N82E16824106002#

  DX-71                   https://www.technicolor.com/hdr
  DX-72                   https://www.technicolor.com/hdr/ce-manufacturers

  DX-73                   https://www.acer.com/ac/en/US/content/group/monitors
  DX-74                   https://www.asus.com/us/

  DX-75                   https://www.asus.com/us/Monitors/ROG-SWIFT-PG278QR/

  DX-76                   https://www.asus.com/us/ROG-Republic-Of-Gamers/ROG-SWIFT-
                          PG279Q/
  DX-77                   https://www.asus.com/us/Monitors/VG245H/

  DX-78                   https://www.asus.com/us/Monitors/VG248QE/

  DX-79                   https://www.asus.com/us/Monitors/VG278Q/
  DX-80                   https://www.asus.com/us/Monitors/ProArt-PA248Q/

  DX-81                   https://www.asus.com/us/Monitors/ProArt-PA328Q/

  DX-82                   https://www.asus.com/us/Monitors/ROG-Strix-XG32VQ/

  DX-83                   https://www.asus.com/us/Monitors/VS247HP/
  DX-84                   https://www.asus.com/us/Monitors/VS248HP/?SearchKey=vs248h-/
  DX-85                   https://www.asus.com/us/Monitors/VP247QG/


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  DX-86                   https://www.asus.com/us/Monitors/MB169BPlus/

  DX-87                   https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/PG278QR/PG27
                          8QR_English_V1.pdf

  DX-88                   https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/PG279/PG279_
                          English.pdf

  DX-89                   https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/VG245/VG245_
                          English.pdf
  DX-90                   https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/VG248/VG248_
                          English.pdf

  DX-91                   https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/VG278/VG278_
                          English.pdf
  DX-92                   https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/PA248Q/PA248
                          _English.pdf

  DX-93                   https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/PA328/PA328_
                          English.pdf
  DX-94                   https://dlcdnets.asus.com/pub/ASUS/mb/idx/CNL/ROG_STRIX_XG32
                          VQ_XG32VQR_XG35VQ_English.pdf

  DX-95                   https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/ASUS_VS228V
                          S238VS247_English.pdf

  DX-96                   https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/VS248/VS248_
                          English.pdf

  DX-97                   https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/VP247/VP247_
                          english_20171114.pdf

  DX-98                   https://dlcdnets.asus.com/pub/ASUS/LCD%20Monitors/MB169B/MB16
                          9_English.pdf
  DX-99                   https://www.synnexcorp.com/us/about/locations/

  DX-100                  https://www.synnexcorp.com/us/about/

  DX-101                  https://www.synnexcorp.com/us/govsolv/

  DX-102                  https://www.malabs.com/company/aboutus.php

  DX-103                  https://www.malabs.com/company/contactus.php


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  DX-104                  https://corp.ingrammicro.com/About-Us/At-a-Glance/By-the-
                          Numbers.aspx

  DX-105                  https://corp.ingrammicro.com/Contact-Us/Map-of-Locations.aspx


  DX-106                  [GAP]

  DX-107                  [GAP]



  DX-108                  [GAP]


  DX-109                  [GAP]



  DX-110                  [GAP]


  DX-111                  [GAP]



  DX-112                  [GAP]


  DX-113                  [GAP]


  DX-114                  [GAP]


  DX-115                  [GAP]



  DX-116                  [GAP]


  DX-117                  [GAP]




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  DX-118                  [GAP]


  DX-119                  [GAP]



  DX-120                  [GAP]


  DX-121                  [GAP]



  DX-122                  [GAP]


  DX-123                  [GAP]



  DX-124                  [GAP]


  DX-125                  [GAP]



  DX-126                  [GAP]


  DX-127                  [GAP]



  DX-128                  [GAP]


  DX-129                  [GAP]



  DX-130                  Lone Star Technological Innovations, LLC v Acer, Inc. and Acer
                          America Corporation complaint, Case No. 6:15-cv-00973, ECF No. 1,
                          filed November 10, 2015
  DX-131                  Acer Press Release, "Acer Launches Gaming Monitor Enabled by AMD
                          FreeSync Technology," 3/23/2015
                          (https://www.acer.com/ac/en/MY/press/2015/153926)

                                                                                   8
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  DX-132                  Acer Press Release, "Acer Launches World’s First Curved Monitor with
                          NVIDIA G-SYNC Technology," 4/23/2015
                          (https://www.acer.com/ac/en/MY/press/2015/157378)
  DX-133                  https://fred.stlouisfed.org/series/AEXTAUS (annual 2016-2019)

  DX-134                  https://fred.stlouisfed.org/series/EXTAUS (2020 exchange rate is
                          average of monthly rates for Jan-August)
  DX-135                  Plaintiff Lone Star Technological Innovations LLC’s July 27, 2020
                          Response to ASUSTeK Computer Inc.’s First Set of Interrogatories

  DX-136                  ASUS VG248QE Monitor including materials and packaging


  DX-137                  ASUS VG245H Monitor including materials and packaging


  DX-138                  Lone Star/Barco Settlement Agreement


  DX-139                  ASUS Products with ODMs identified (ASUSLS00471-481)


  DX-140                  Alvin Lin Deposition Exhibit 7 (previously P-71 from Lone Star’s list)


  DX-141                  Alvin Lin Deposition Exhibit 10 (previously P-74 from Lone Star’s list)


  DX-142                  Alvin Lin Deposition Exhibit 11 (previously P-75 from Lone Star’s list)




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   Dated: May 16, 2021              Respectfully submitted,


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                                          ASUSTeK Computer Inc.




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                                CERTIFICATE OF SERVICE

        I hereby certify that on May 16, 2021, I electronically filed the foregoing document with

 the clerk of the court for the U.S. District Court, Eastern District of Texas, Tyler Division, using

 the electronic case filing system of the court. The electronic case filing system sent a “Notice of

 Electronic Filing” to the attorneys of record who have consented in writing to accept this Notice

 as service of this document by electronic means.


                                                                     /s/ Michael C. Ting
                                                                      Michael C. Ting
